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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA


ZACH McQUEEN and FRED                                   Civ. No.: 19-cv-2559-DWF-BRT
KRAUTKRAMER, individually and on
behalf of others similarly situated,
                                                               CLASS ACTION
                    Plaintiffs,

             vs.
                                                             STIPULATION
YAMAHA MOTOR CORPORATION,                               FOR PROTECTIVE ORDER
U.S.A.,

                                  Defendant.



       Plaintiffs Zach McQueen and Fred Krautkramer, individually and on behalf of

others similarly situated, and Defendant Yamaha Motor Corporation, U.S.A., by and

through their undersigned attorneys, herby stipulate and agree to entry of the following

protective order:

1.     Definitions. As used in this protective order:

       (a)    “attorney” means an attorney who has appeared in this action;

       (b)    “confidential document” means a document that consists of (i) previously

              undisclosed financial information, (ii) previously undisclosed information

              of a personal or intimate nature, (iii) previously undisclosed business

              information, (iv) previously undisclosed information protected from

              disclosure by law, or (v) information that will, if disclosed, potentially have

              the effect of causing harm to the producing party’s competitive position;



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     (c)   to “destroy” electronically stored information means to delete from all

           databases, applications, and file systems so that the information is not

           accessible without the use of specialized tools or techniques typically used

           by a forensic expert;

     (d)   “document” means information disclosed or produced in discovery,

           including at a deposition;

     (e)   “notice” or “notify” means written notice;

     (f)   “party” means a party to this action; and

     (g)   “protected document” means a document protected by a privilege or the

           work-product doctrine.

2.   Designating a Document or Deposition as Confidential.

     (a)   A party or non-party disclosing or producing a document may designate it

           as confidential if the party or non-party contends that it contains

           confidential or proprietary information.

     (b)   A party or non-party may designate a document as confidential by

           conspicuously marking each page with the word “confidential.”

     (c)   Deposition testimony may be designated as confidential:

           (1)    on the record at the deposition; or

           (2)    after the deposition, by promptly notifying the parties and those who

                  were present at the deposition.

     (d)   If a witness is expected to testify as to confidential or proprietary

           information, a party or non-party may request that the witness’s deposition


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           be taken in the presence of only those persons entitled to receive

           confidential documents.

3.   Who May Receive a Confidential Document.

     (a)   A confidential document may be used only in this action.

     (b)   No person receiving a confidential document may reveal it, except to:

           (1)    the court and its staff;

           (2)    counsel engaged for purposes of assisting with this proceeding by

                  any party, including partners, associates, or staff of such counsel’s

                  law firms who are assisting in the proceeding;

           (3)    a person shown on the face of the confidential document to have

                  authored or received it;

           (4)    a court reporter or videographer retained in connection with this

                  action;

           (5)    a party (subject to paragraph 3(c));

           (6)    any person who:

                  (A)       is retained to assist a party or attorney with this action; and

                  (B)       signs a declaration that contains the person’s name, address,

                            employer, and title, and that is in substantially this form:

                            I have read, and agree to be bound by, the protective order in
                            the case captioned Zach McQueen et al. v. Yamaha Motor
                            Corporation, U.S.A., Case No. 19-cv-2559-DWF-BRT, in the
                            United States District Court for the District of Minnesota. As
                            soon as my work in connection with that action has ended,
                            but not later than 30 days after the termination of that action
                            (including any appeals), I will return or destroy any


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                         confidential document that I received, any copy of or excerpt
                         from a confidential document, and any notes or other
                         document that contains information from a confidential
                         document.

                         I declare under penalty of perjury that the foregoing is true
                         and correct.

           (7)    parties and their officers, directors, and employees (including in-

                  house counsel) to whom disclosure is reasonably necessary for this

                  proceeding; and

           (8)    any person testifying at a deposition, hearing, or trial of the

                  proceeding, provided that such person first is advised of and agrees

                  to be bound by the provisions of this Order, either on the record at

                  such deposition or by executing a copy of the declaration

                  contemplated in paragraph 3(b)(6)(B).

     (c)   A party may supplement the “confidential” mark (see paragraph 2(b)) with

           the words “attorney’s eyes only,” in which case a confidential document so

           designated may only be viewed by the receiving party’s attorney as well as

           partners, associates, or staff employed by such counsel’s law firms who are

           assisting in the proceeding.

     (d)   If a confidential document is revealed to someone not entitled to receive it,

           the parties must make reasonable efforts to retrieve it.

4.   Serving This Protective Order on a Non-Party. A party serving a subpoena on

     a non-party must simultaneously serve a copy of this protective order and of Local

     Rule 5.6.


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5.   Correcting an Error in Designation. A party or non-party who discloses or

     produces a confidential document not designated as confidential may, within 15

     days after discovering the error, provide notice of the error and produce a copy of

     the document designated as confidential.

6.   Use of a Confidential Document in Court.

     (a)    Filing. This protective order does not authorize the filing of any document

            under seal. A confidential document may be filed under seal only in

            accordance with Local Rule 5.6. Any party wishing to file a document

            designated as confidential in connection with a motion, brief, or other

            submission to the Court must comply with the procedures and standards set

            forth in Local Rule 5.6(c)–(d).

     (b)    Presentation at a hearing or trial. A party intending to present another

            party’s or a non-party’s confidential document at a hearing or trial must

            promptly notify the other party or the non-party so that the other party or

            the non-party may seek relief from the court.

7.   Changing a Confidential Document’s Designation.

     (a)    Document disclosed or produced by a party. A confidential document

            disclosed or produced by a party remains confidential unless the parties

            agree to change its designation or the court orders otherwise.

     (b)    Document produced by a non-party. A confidential document produced

            by a non-party remains confidential unless the non-party agrees to change




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           its designation or the court orders otherwise after providing an opportunity

           for the non-party to be heard.

     (c)   Changing a designation by court order. A party who cannot obtain

           agreement to change a designation may move the court for an order

           changing the designation. If the motion affects a document produced by a

           non-party then, with respect to the motion, that non-party is entitled to the

           same notice and opportunity to be heard as a party. The party or non-party

           who designated a document as confidential must show that the designation

           is appropriate.

8.   Handling a Confidential Document After Termination of Litigation.

     (a)   Within 60 days after the termination of this action (including any appeals),

           each party must:

           (1)    return or destroy all confidential documents; and

           (2)    notify the disclosing or producing party that it has returned or

                  destroyed all confidential documents within the 60-day period.

     (b)   Notwithstanding paragraph 8(a), each attorney may retain a copy of any

           confidential document submitted to the court and a copy of any document

           (whether a filing, discovery response, or otherwise) that quotes or describes

           the substance of a confidential document.

9.   Inadvertent Disclosure or Production to a Party of a Protected Document.

     (a)   Notice.




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             (1)    The inadvertent production of any documents in this proceeding

                    shall not constitute a waiver of any privilege or protection applicable

                    to those documents. A party or non-party who discovers that it has

                    inadvertently disclosed or produced a protected document must

                    promptly notify the receiving party and describe the basis of the

                    claim of privilege or protection.

             (2)    A party who discovers that it may have received an inadvertently

                    disclosed or produced protected document must promptly notify the

                    disclosing or producing party or non-party.

      (b)    Handling of Protected Document. A party who is notified or discovers

             that it may have received a protected document must comply with Federal

             Rule of Civil Procedure 26(b)(5)(B).

10.   Security Precautions and Data Breaches.

      (a)    Each party must make reasonable efforts to protect the confidentiality of

             any confidential document disclosed or produced to that party.

      (b)    A party who learns of a breach of confidentiality must promptly notify the

             disclosing or producing party of the scope and nature of that breach and

             make reasonable efforts to remedy the breach.

11.   Survival of Obligations. The obligations imposed by this protective order

      survive the termination of this action.

12.   Electronic Service of Papers. The parties agree that service in this action may be

      made by using an email and/or secure electronic file transfer service (such as one


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      using the Secure File Transfer Protocol) to send documents to counsel of record

      for the parties.

13.   Reservation of Rights. This protective order shall not prevent any party from

      applying to the Court for relief therefrom, or from applying to the Court for further

      or additional protective orders.


Dated: October 5, 2020                   Respectfully submitted,

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